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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                               (CAMDEN VICINAGE)

   LAW OFFICES OF LEWIS G. ADLER
   26 Newton Avenue
   Woodbury, New Jersey 08096
   (856) 845-1968
   Attorney for Victor Boyko_____ ________
   Plaintiffs                                :
                                             :
    Victor Boyko, individually and on behalf :
   Of all others similarly situated.
   vs.                                       : Case #: 1:08-cv-2214 (RBK)(JS)
                                             :
   Defendant                                 :       Civil Action
                                             :
                                             : Second AMENDED
                                             : COMPLAINT
   American International Group, Inc         : and Jury Demand
   American International Insurance          : Class Action
   Company of New Jersey, Inc.               :
   AIG Marketing, Inc. dba 21st Century      :
   Insurance and                             :
   Credit Control Services, Inc dba          :
   Credit Collection Services and C.C. S.    :
   ____________________________________:


          Plaintiffs, by their attorney, individually, and as private attorneys general, and on

   behalf of all others similarly situated, hereby makes the following complaint:

          Plaintiff, Victor Boyko, residing at 360 Russell Mill Road, Woolwich, County of

   Gloucester and State of New Jersey, by way of Complaint against the Defendants, says:

                                           PARTIES

          1.      The Plaintiff Victor Boyko resides at 360 Russell Mill Road, Woolwich,

   County of Gloucester and State of New Jersey.

          2.      The Defendant, American International Insurance Company of New

   Jersey, Inc (AIICNJ) a New Jersey insurance company with headquarters located at One
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   AIG Center, Wilmington, De 19803 solicits and does business throughout the State of

   New Jersey, inclusive of Gloucester County.

           3.       The Defendant, AIG Marketing, Inc. (AIGM) a Delaware Corporation also

   doing business as 21st Century Insurance, with its principal place of business located at

   One AIG Center, Wilmington, De 19803 solicits and does business throughout the State

   of New Jersey, inclusive of Gloucester County.

           4.       The Defendant, American International Group, Inc., (AIG) is a Delaware

   company with headquarters located at 70 Pine Street, NY, NY and is the parent company

   of American International Insurance Company of New Jersey, Inc and AIG Marketing,

   Inc..

           5.       The Defendant, Credit Control Services, Inc, d/b/a Credit Collection

   Services and C.C.S. (CCS) is a Delaware Corporation with company headquarters located

   2 Wells Avenue, Newton, Massachusetts, 02159

                                 VENUE AND JURISDICTION

           6. Jurisdiction before the court is based upon a federal cause of action from a

                claim arising under the “Fair Debt Collection Practices Act” 15 U.S.C. 1692

                et. seq.

           7. Venue is proper in this court pursuant to 28 U.S.C. 1391(b)

           8. The Defendant, American International Insurance Company of New Jersey is

                a New Jersey Corporation.

           9. The Defendant, American International Group is a Delaware Corporation.

           10. The Defendant, Credit Control Services is a Delaware corporation.

           11. The Plaintiff is a resident of the State of New Jersey.




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                              CLASS ACTIONS ALLEGATIONS

         12. The Plaintiff brings this action on behalf of all persons similarly situated and

            pursuant to court rule as a class action on behalf of a nationwide class with

            subclasses of persons as defined below.

         13. The Plaintiff proposes a first class as 1) Individuals who have had auto

            insurance with the Defendant, American International Insurance Company of

            New Jersey, Inc in the State of New Jersey from six years prior to the filing of

            the complaint through the date of class certification, and 2) individuals who

            received a bill for earned premiums from the Defendant without a valid claim

            of right for the money.

                A. A subclass exists for claims from six years prior to the filing of the

                    complaint through the date of class certification which includes claims

                    under the New Jersey Consumer Fraud Act and New Jersey Truth-In-

                    Consumer Contracts, Warranty and Notice Act.

         14. The Plaintiff proposes a nationwide class as 1) Individuals who have had auto

            insurance with any subsidiary of the Defendant, American International Group

            nationwide from six years prior to the filing of the complaint through the date

            of class certification, and 2) individuals who received a bill for earned

            premiums from the Defendant without a valid contractual claim of right for

            the earned premiums by AIG or its subsidiaries.

            A. A New Jersey subclass exists for claims from six years prior to the filing

                of the complaint through the date of class certification which includes




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                claims under the New Jersey Consumer Fraud Act and New Jersey Truth-

                In-Consumer Contracts, Warranty and Notice Act.

            B. A nationwide subclass exists for claims from one year prior to the filing of

                the complaint through the date of class certification which includes claims

                under the Fair Debt Collection Practices Act.

         15. The Plaintiff proposes a nationwide class as 1) Individuals who have had the

            Defendant Credit Control Services, Inc attempt to collect a debt concerning

            auto insurance issued by any subsidiary of the Defendant, American

            International Group, Inc which was the subject of a contract for collection

            between AIG Marketing, Inc and Credit Control Services, Inc. within the

            United States from six years prior to the filing of the complaint through the

            date of class certification, 2) individuals who received a collection notice from

            Credit Control Services dba Credit Collection Services who received a bill for

            earned premiums without a valid contractual claim of right for the earned

            premiums for a bill for earned premiums from any subsidiary of the Defendant

            American International Group, Inc.

            A. A New Jersey subclass exists for claims from six years prior to the filing

                of the complaint through the date of class certification which includes

                claims under the New Jersey Consumer Fraud Act and New Jersey Truth-

                In-Consumer Contracts, Warranty and Notice Act..

            B. A nationwide subclass exists for claims from one year prior to the filing of

                the complaint through the date of class certification which includes claims

                under the Fair Debt Collection Practices Act.




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         16. The Plaintiff proposes a nationwide class as 1) Individuals residing in the

            United States who have had auto insurance serviced by AIG Marketing, Inc. a

            wholly owed subsidiary of the Defendant, American International Group

            from six years prior to the filing of the complaint through the date of class

            certification, 2) individuals who received a bill for earned premiums from the

            Defendant American International Group, Inc. without a valid contractual

            claim of right for the earned premiums by AIG or its subsidiaries.

            A. A New Jersey subclass exists for claims from six years prior to the filing

                of the complaint through the date of class certification which includes

                claims under the New Jersey Consumer Fraud Act and New Jersey Truth-

                In-Consumer Contracts, Warranty and Notice Act.

            B. A national subclass exists for claims from one year prior to the filing of

                the complaint through the date of class certification which includes claims

                under the Fair Debt Collection Practices Act.

         17. The claims of the named class representative and the absent class members

            have a common origin and share a common basis. Their claims originate from

            the same illegal, fraudulent, unconscionable and/or negligent business

            practices of the Defendants as a joint enterprise, and the Defendants acted in

            the same way toward the Individual Plaintiff and the members of the class. As

            such, the individual Plaintiff has been a victim of the unconscionable business

            practices.

         18. At all times relevant hereto, Defendants have engaged in a uniform scheme

            and course of conduct to inflate their profits by charging and collecting




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            various fees not authorized by the insurance documents or applicable law.

            The components of this scheme involve common tactics in which the

            Defendants have been overcharging canceling policy holders for coverage

            beyond the effective dates for the policy.

         19. The proposed class representative states a claim upon which relief can be

            granted that is typical of the claims of absent class members. If brought and

            prosecuted individually, the claims of each class member would necessarily

            require proof of the same material and substantive facts, rely upon the same

            remedial theories, and seek the same relief.

         20. The claims and remedial theories pursued by the named class representative

            are sufficiently aligned with the interests of absent class members to ensure

            that the individual claims of the class will be prosecuted with diligence and

            care by the individual Plaintiff as class representative.

         21. The members of the class are so numerous that joinder of all members is

            impracticable. The Defendants have thousands of policyholders per year. The

            class is ascertainable as the names and addresses of all class members can be

            identified in the business records maintained by the Defendants.

         22. Questions of fact and law common to the class that predominate include but

            are not limited to:

                       I.         Did the Defendants impose and collect unnecessary and
                                  excessive fees and charges not authorized by the insurance
                                  contract or by applicable law?;
                       II.        Did the Defendants mislead or otherwise misinform
                                  customers about the amounts properly due and owing?;
                       III.       Did the Defendants engage in conduct that violates state
                                  and federal consumer protection laws?; and


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                       IV.     Did the Defendants harass or otherwise treat customers
                               unfairly and without regard to obligations of good faith and
                               fair dealing?
                       V.      Did the Defendants act in violation of the New Jersey
                               Truth-In-Consumer Contracts, Warranty and Notice Act
                               with respect to each Class member by demanding charges
                               to which they were not entitled?
                       VI.     Did the Defendants engage in unfair and/or deceptive acts
                               and practices in violation of the New Jersey Consumer
                               Fraud Act with respect to each Class member that includes
                               one or more of the following:
                       a.      Imposing and collecting unnecessary and excessive fees
                               and charges not authorized by the insurance contract or by
                               applicable law;
                       b.      Imposing and collecting excessive interest;
                       c.      Misleading or otherwise misinforming customers about the
                               amounts properly due and owing;
                       d.      Engaging in conduct that violates state and federal
                               consumer protection laws; and
                       VII.    Did the Defendants represent to the Plaintiff that they are
                               entitled to collect various premium charges that were not
                               legally due and owing?
                       VIII.   Did the Defendants attempt to collect monies that are not
                               due and owing under applicable law which would have
                               resulted in unjust enrichment of the Defendants?
         23. The named individual Plaintiff is willing and prepared to serve the Court and

            proposed class in a representative capacity with all of the obligations and

            duties material thereto. The individual Plaintiff will fairly and adequately

            protect the interests of the class and have no interests adverse to, or which

            directly and irrevocably conflict with, the interests of the other class members.

         24. The self-interest of the named class representative is co-extensive with and

            not antagonistic to those of the absent class members. The proposed

            representative will undertake to well and truly protect the interests of the

            absent class members.



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         25. The named individual Plaintiff has engaged the services of counsel indicated

            below. Said counsel are experienced in complex class litigation, will

            adequately prosecute this action and will assert, protect, and otherwise well

            represent the named class representative and absent class members.

         26. The prosecution of separate actions by individual members of the class would

            create a risk of adjudications with respect to individual members of the class

            which would, as a practical matter, be dispositive of the interests of other

            members of the class who are not parties to the action, or could substantially

            impair or impede their ability to protect their interests.

         27. The prosecution of separate actions by individual members of the class would

            create a risk of inconsistent or varying applications with respect to individual

            members of the class which would establish incompatible standards of

            conduct for the parties opposing the class. Such incompatible standards and

            inconsistent or varying adjudications, on what would be necessarily the same

            essential facts, proof and legal theories, would also create and allow to exist

            inconsistent and incompatible rights within the class.

         28. The Defendants have acted or refused to act on grounds generally applicable

            to the class, making final declaratory or injunctive relief appropriate.

         29. The questions of law and fact common to members of the class predominate

            over any questions affecting only individual members.

         30. A class action is superior to other available methods for the fair and efficient

            adjudication of the controversies herein in that:




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                b. individual claims by the class members are impractical as the costs of

                   pursuit far exceed what any one Plaintiff or class member has at stake;

                c. as a result, there has been very little litigation over the controversies

                   herein; and individual members of the class have no interest in

                   prosecuting and controlling separate actions; and

                d. the proposed class action is manageable.

                                          FACTS

         31. On or about December 2, 2006, the Plaintiff purchased an auto insurance

            policy issued by the Defendant, American International Insurance Company

            of New Jersey.(AIINJ)

         32. The policy was for a period from December 2, 2006 to May 31, 2007.

         33. The Plaintiff paid in full all premiums due for the policy from December 2,

            2006 to May 31, 2007 and he made his insurance premium checks payble to

            AIG, which is the registered trademark of American International Group, Inc.,

            as requested on the bills. Therefore AIG received the financial benefit of the

            Plaintiff’s payment. Exhibit G.

         34. The Defendant, American International Insurance Company of New Jersey

            offered to renew the policy dated April 17, 2007 for a period from June 1,

            2007 to December 1, 2007 which notice required the premium be received by

            June 1, 2007.

         35. The Plaintiff did not renew the policy with the Defendant, American

            International Insurance Company of New Jersey.




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         36. The Plaintiff’s policy states under the section Automatic Termination that

            “If we offer to renew or continue and you or your representative do not

            accept, this policy will automatically terminate at the end of the current policy

            period. Failure to pay the required premium when due shall mean that you

            have not accepted our offer.”

         37. The Plaintiff did not accept the renewal offer nor did he pay the requested

            premium.

         38. By its terms the insurance policy terminated as of May 31, 2007.

         39. Subsequent to May 31, 2007, the Plaintiff and the Defendants had no legal

            relationship.

         40. On or about September 11, 2007, the Defendant, AIG, sent to Plaintiff a

            demand for payment of $262 via telewire and signed as AIG Auto Insurance

            for the premium for coverage provided “prior to the cancellation of the

            policy”. Exhibit A.

         41. The Plaintiff’s bill included a sum of $31.00 for monies due to the New

            Jersey Guaranty Fund.

         42. On or about October 22, 2007, the Defendant Credit Control Services, Inc dba

            Credit Collection Services sent a notice to Plaintiff and demanded payment of

            $262 on behalf of “AIG Insurance Companies” Exhibit B.

         43. On or about November 11, 2007, the Defendant Credit Control Services, Inc

            dba Credit Collection Services sent a second notice to Plaintiff and demanding

            payment of $262 on behalf of “AIG Insurance Companies” Exhibit C.




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         44. On or about December 2, 2007, the Defendant Credit Control Services, Inc

            dba Credit Collection Services sent a third notice to Plaintiff and demanding

            payment of $262 on behalf of “AIG Insurance Companies” Exhibit D.

         45. The Defendant, Credit Control Services, Inc dba Credit Collection Services

            made numerous calls to the Plaintiff demanding payment of the alleged debt.

         46. On or about January 21, 2008, the Plaintiff paid the full amount demanded

            under protest in order to mitigate his damages and without waiving any and all

            claims he may have concerning the charge. Exhibit E.

         47. The Defendants failed to forward the $31.00 of the payment which was for the

            New Jersey Guaranty Fund to the Fund as required by law and instead kept

            the money. (stricken per court order of 12/23/09)

         48. The Defendant Credit Control Services, Inc dba Credit Collection Services

            cashed the check on or about February 15, 2008.

         49. Each of the notices sent by the Defendant Credit Control Services, Inc

            identified the name of the business as CCS or Credit Collection Services.

         50. The Defendant Credit Control Services, Inc dba Credit Collection Services is

            not licensed nor bonded in the State of New Jersey as a debt collector pursuant

            to NJSA 45:18-1 et seq. since August 3, 2004. Exhibit F.

         51. American International Insurance Company of New Jersey and AIG

            Marketing, Inc. are wholly owned subsidiaries of AIG.

         52. AIG Marketing services automobile insurance policies in 48 states which are

            underwritten by insurance companies which are also wholly owned

            subsidiaries of American Insurance Group.




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         53. American International Insurance Company of New Jersey and the other

               insurance companies serviced by AIG Marketing, Inc          all include in the

               insurance contracts the same identical language concerning “Automatic

               Termination” as referenced previously herein.

         54. AIG Marketing, Inc has a uniform set of policies and procedures for the

               servicing, marketing, billing and collection of the auto insurance contracts it

               services for the AIG underwriting insurance companies.

         55.      At all times relevant hereto, the Defendants have engaged in a uniform

               scheme and course of conduct to inflate their profits by charging and

               collecting various fees not authorized by the policy documents or applicable

               law. The components of this scheme involve common tactics in which the

               Defendants have been charging cancelling policyholders for coverage which

               was neither provided nor contracted for with the policyholder.



                                          CAUSES OF ACTION

                                             COUNT I

   BREACH OF CONTRACT—American International Insurance Company of New Jersey



         56. Plaintiff realleges and incorporates by reference all preceding allegations of

               law and fact as if they were set forth fully herein

         57. The auto insurance policy issued by the Defendant American International

               Insurance Company of New Jersey states under the section Automatic

               Termination that “If we offer to renew or continue and you or your




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              representative do not accept, this policy will automatically terminate at the

              end of the current policy period. Failure to pay the required premium when

              due shall mean that you have not accepted our offer.”

          58. The Plaintiff did not renew the policy in accordance with the terms of the

              policy.

          59. The Defendant American International Insurance Company of New Jersey has

              breached its contracts with plaintiff and members of the class by improperly

              charging for coverage after the expiration of the policy period or otherwise

              improperly charging for earned premiums.

          60. Plaintiff and Class members are entitled to relief for breach of contract.

          WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendant for damages, attorney’s fees, and cost of suit.

                                           COUNT II

                          INTENTIONAL MISREPRESENTATION-

      AIG, AIG Marketing, Inc and American International Insurance Company of New

                                              Jersey

          (Is dismissed as to all AIG defendants per court order of December 23, 2009)

          61. Plaintiff realleges and incorporates by reference all preceding allegations of

              law and fact as if they were set forth fully herein.

          62. The Defendants AIG, AIG Marketing, Inc and              American International

              Insurance Company of New Jersey have represented to the Plaintiff that they

              are entitled to collect premiums for coverage after the termination of the auto




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                insurance policy or other earned premiums that were not legally due and

                owing.

          63. The representations of AIG, AIG Marketing, Inc and American International

                Insurance Company of New Jersey concerning the right to collect such fees

                were false.

          64. AIG, AIG Marketing, Inc and American International Insurance Company of

                New Jersey knew or should have known that such representations were false.

          65. Plaintiff relied upon the false representations of AIG, AIG Marketing, Inc and

                American International Insurance Company of New Jersey concerning its

                entitlement to collect such charges to his detriment.

          66. Plaintiff’s reliance was reasonable and justifiable in the circumstances.

          67. Plaintiff has suffered damages.

          68. Plaintiff and other class members are entitled to relief for misrepresentation.

          WHEREFORE, the Plaintiff and other class members demand judgment against

          the Defendants for damages, punitive damages, attorney’s fees, and cost of suit.

                                            COUNT III

                                          NEGLIGENCE

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

          69. Plaintiff realleges and incorporates by reference all preceding

   allegations of law and fact as if they were set forth fully herein.

          70.      AIG, AIG Marketing, Inc and             American International Insurance

   Company of New Jersey owed plaintiff and other Class members a duty of reasonable

   care with respect to servicing their automobile insurance policies and collection practices.




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          71. AIG, AIG Marketing, Inc and American International Insurance Company

   of New Jersey’s conduct with respect to Plaintiff and other Class members breached their

   duty of care.

          72. AIG, AIG Marketing, Inc and American International Insurance Company of

   New Jersey’s conduct was negligent with respect to Plaintiff and other Class members.

          73.       As a direct and proximate result of the negligence listed above Plaintiff

   and the other Class members have suffered damages and are entitled to relief for the

   negligence of AIG, AIG Marketing, Inc and American International Insurance Company

   of New Jersey.

          WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendants for damages, punitive damages, attorney’s fees, and cost of suit.



                                           COUNT IV:

                   BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

          (Is dismissed as to AIG only per court order of December 23, 2009)


          74.       Plaintiff realleges and incorporates by reference all preceding allegations

   of law and fact as if they were set forth fully herein.

          75.       New Jersey recognizes a duty of good faith and fair dealing with respect to

   conduct encompassed by contractual relations.

          76.       AIG, AIG Marketing, Inc and              American International Insurance

   Company of New Jersey’s conduct as aforesaid breached said duty.




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          77.     Plaintiff and members of the Class are entitled to relief for AIG, AIG

   Marketing, Inc and American International Insurance Company of New Jersey’s breach.

          WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendants for damages, punitive damages, attorney’s fees, and cost of suit.

                                            COUNT V

                                     UNJUST ENRICHMENT

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

          (Is dismissed as to AIG only per court order of December 23, 2009)

          78.     Plaintiff realleges and incorporates by reference all preceding allegations

   of law and fact as if they were set forth fully herein.

          79.     AIG, AIG Marketing, Inc and                American International Insurance

   Company of New Jersey have engaged in unlawful collection activities.

          80.     AIG, AIG Marketing, Inc and                American International Insurance

   Company of New Jersey have collected monies that are not due and owing under

   applicable contract law, because the contract or other applicable law does not permit

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

   to collect such earned premiums, fees and charges.

          81.     Said conduct sounds in equity under the common law of unjust

   enrichment, money had & received, and constructive trust.

          82.     AIG, AIG Marketing, Inc and                American International Insurance

   Company of New Jersey have been unjustly enriched by its conduct.




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          83.     Plaintiff and Class members have suffered loss by virtue of AIG, AIG

   Marketing, Inc’s and     American International Insurance Company of New Jersey’s

   conduct.

          84.     Plaintiffs and members of the Class are entitled to relief for unjust

   enrichment.

          WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendants for damages, punitive damages, attorney’s fees, and cost of suit.

                                         COUNT VI:

        UNFAIR AND DECEPTIVE ASSESSMENT AND COLLECTION OF FEES-

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

          85.    Plaintiff incorporates by reference all the foregoing paragraphs.

          86.    In the course and conduct of their insurance servicing and collection,

   defendants in numerous instances, have represented, expressly or by implication, that

   premiums assessed and/or collected by AIG, AIG Marketing, Inc and                  American

   International Insurance Company of New Jersey were (a) allowed under, the policy

   contract and (b) permitted by law.

          87.     On numerous occasions, the premiums assessed and collected by AIG,

   AIG Marketing, Inc and American International Insurance Company of New Jersey were

   (a) not allowed under the policy contract or (b) not permitted by law. Nonetheless, AIG,

   AIG Marketing, Inc and American International Insurance Company of New Jersey

   improperly assessed and attempted to collect these fees.




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          88.     Defendants’ actions have caused and are likely to cause substantial injury

   to consumers. This injury is not reasonably avoidable by consumers and not outweighed

   by countervailing benefits to consumers or competition.

          89.     Defendants’ acts or practices constitute unfair and deceptive acts or

   practices in or affecting commerce in violation of Section 5(a) of the Federal Trade

   Commission Act, 15 U.S.C. §45(a) which constitutes a violation of the New Jersey

   Consumer Fraud Act and are therefore actionable by the Plaintiff under the New Jersey

   Consumer Fraud Act.

          WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendants for damages, treble damages, attorney’s fees, and cost of suit.


                                          COUNT VII

                                New Jersey Consumer Fraud Act

   AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

          90. The Plaintiff repeats each and every allegation of the previous counts and

   incorporates them by reference herein as if they were set forth fully herein.

          91. The Defendants, AIG, AIG Marketing, Inc and American International

   Insurance Company of New Jersey, have charged and received the illegal and/or

   excessive charges as outlined previously.

          92. The actions of the Defendants constitute unconscionable business practices in

   violation of the New Jersey Consumer Fraud Act. N.J.S.A. 56:8-2.

          93. The Plaintiff and other class members have suffered an ascertainable loss as a

   result of the unconscionable business practices of the Defendants.




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           WHEREFORE, the Plaintiff and other class members demand judgment against

   the Defendants for damages, treble damages, attorney’s fees, and cost of suit.

                                          COUNT VIII

                     Truth-In-Consumer Contract, Warranty and Notice Act

       AIG, AIG Marketing, Inc and American International Insurance Company of New

                                              Jersey

                 (Amended pursuant to the court order of December 23, 2009)

           94. The Plaintiff repeats each and every allegation of the previous counts and

   incorporates them by reference herein as if they were set forth fully herein.

           95. The Plaintiff paid all of his premiums to AIG pursuant to the billing sent to

   him by the Defendants for his auto insurance. Exhibits G & H.

           96. The Defendants, AIG, AIGM and AIICNJ were creditors of the Plaintiff.

           97. The Defendants’ notices (Exhibit A and H) included illegal and/or excessive

   charges on the policy; specifically by charging for a period of time for which no policy of

   insurance was in force.

           98. The notice which demanded such illegal payments is a violation of the Truth-

   In-Consumer Contracts, Warranty and Notice Act. N.J.S.A. 56:12-14

           99. The Plaintiff has been injured as a direct and proximate result of the

   Defendant’s actions.

   WHEREFORE, the Plaintiff and other class members each demand judgment for

   damages, a civil penalty of not less than $100.00, attorney’s fees, interest and costs of

   suit.




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                                            COUNT IX

                                       FEDERAL CLAIMS

                       Violations of the Fair Debt Collection Practices Act—

               Credit Control Services, Inc dba Credit Collection Services and C.C. S.

           100.     The Plaintiffs repeat each and every allegation of the previous counts and

   incorporate them by reference herein as if they were set forth fully herein.

           101.     The Defendant, Credit Control Services, Inc dba Credit Collection

   Services and C.C. S. is a debt collector. The firm regularly engages in the collection of

   debt for third parties.

           102. The Defendant, Credit Control Services, Inc dba Credit Collection Services

   and C.C. S. has violated the Fair Debt Collection Practices Act 15 U.S.C. 1692 et setq

   (FDCPA) by their conduct, including, but not limited to:

           a)       attempting to collect amounts not permitted by law ( 15 U.S.C.

                    § 1692f(1));

           b)       using a name for the business other than the true name of the debt

                    collector(15 U.S.C. § 1692e(14));

           103.     Plaintiff and members of the Class are entitled to relief under the FDCPA,

   including damages and declaratory judgment that The Defendant’s, Credit Control

   Services, Inc dba Credit Collection Services and C.C. S. conduct violates the FDCPA.

           104.     Plaintiff hereby incorporates by reference all preceding allegations of law

   and fact.




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           105.    The Defendant, Credit Control Services, Inc dba Credit Collection

   Services and C.C. S. has engaged in unfair and/or deceptive acts and practices with

   respect to Plaintiff and each Class member that includes one or more of the following:

           a.      Collecting charges not authorized by the policy documents or by
                   applicable law;

           b.      using a name for the business other than the true name of the debt
                   collector

           106.    Plaintiff and members of the class have suffered damage by virtue of one

   or more of these unfair and/or deceptive practices.

           WHEREFORE, the Plaintiff and other class members each demand judgment for

   damages, a civil penalty of not less than $1000.00, attorney’s fees, interest and costs of

   suit.

                                               COUNT X

                                  New Jersey Consumer Fraud Act

       Conspiracy by Credit Control Services, Inc dba Credit Collection Services and C.C. S. ,

      AIG, AIG Marketing, Inc and American International Insurance Company of New Jersey

                  (Amended pursuant to the court’s order of December 23, 2009)

       107. The Plaintiff repeats each and every allegation of the previous counts and incorporates

   them by reference herein as if they were set forth fully herein.

           108. The Defendant, Credit Control Services, Inc dba Credit Collection Services

   &C.C. S., conspired in concert with AIG, AIG Marketing, Inc and American

   International Insurance Company of New Jersey (collectively referred to as the AIG

   Defendants) to commit an unlawful act, the overcharging of the plaintiff and they

   committed an overt act in demanding the illegal charges via the Telewire and the

   collection actions of their co-conspirator, Credit Control Services, Inc.


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           109.        In furtherance of the conspiracy the AIG defendants entered into a written

   agreement with Credit Control Services to collect the illegal charges.

           110.        The Defendant, Credit Control Services, Inc dba Credit Collection

   Services and C.C. S. had an obligation under both federal and state law to do an

   independent investigation as to the lawfulness of the billings they agreed to collect from

   the AIG defendants.

           111.        The AIG Defendants and Credit Control Services, Inc acted with

   deliberate disregard of the legality of the debts they sought to collect such as the

   Plaintiff’s bill.

           112. The conspiracy and actions of the Defendants constitute unconscionable

   business practices in violation of the New Jersey Consumer Fraud Act. N.J.S.A. 56:8-2.

           113. The Plaintiff paid the monies demanded to the Defendant Credit Control

   Services, Inc on behalf of its co-conspirators.

           114.        The Plaintiff and the members of the class have suffered an ascertainable

   loss proximately caused by the unconscionable business practices of Defendants.


   WHEREFORE, the Plaintiff and other class members demand judgment for damages,

   treble damages, attorney’s fees, interest and costs of suit.

                                               COUNT XI

                         Truth-In-Consumer Contract, Warranty and Notice Act

             Credit Control Services, Inc dba Credit Collection Services and C.C. S.

                (Dismissed pursuant to the court’s order of December 23, 2009)
           115. The Plaintiff repeats each and every allegation of the previous counts and

   incorporates them by reference herein as if they were set forth fully herein.




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           116. The Defendant’s notice (Exhibits B & C)included illegal and/or excessive

   charges on the policy; specifically by charging for a period of time for which no policy

   of insurance was in force.

           117. The notices which demanded such illegal payments are in violation of the

   Truth-In-Consumer Contracts, Warranty and Notice Act. N.J.S.A. 56:12-14

           118. The Plaintiff has been injured as a direct and proximate result of the

   Defendant’s actions.

   WHEREFORE, the Plaintiff and other class members each demand judgment for

   damages, a civil penalty of not less than $100.00, attorney’s fees, interest and costs of

   suit.

                                    PRAYER FOR RELIEF

           Wherefore Plaintiff requests that this court certify a class pursuant to Court Rule

   and award:

           1.     Actual, special, and general damages according to proof;

           2.     Statutory damages and penalties;

           3.     Restitution and disgorgement according to proof;

           4.     Injunctive relief against Defendants to ensure uniform standards of

                  servicing conduct towards all class members and to prevent future

                  wrongful conduct;

           5.     Prejudgment interest at the maximum legal rate;

           6.     Punitive, exemplary and enhanced damages according to proof;

           7.     Statutory punitive treble damages;

           8.     An accounting;




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           9.      Declaratory Judgment as necessary to correct the wrongs inflicted on

                   them;

           10.     Litigation Expenses and Costs of the proceedings herein;

           11.     Reasonable attorneys’ fees; and

           12.     All such other further relief as the Court deems just.



                                DESIGNATION OF TRIAL COUNSEL

           The undersigned, Louis D. Fletcher, Esq. and Roger C. Mattson, Esq. are designated

   as trial counsel.

                                   DEMAND FOR JURY TRIAL

           PLEASE TAKE NOTICE that Plaintiff hereby demands a trial by jury as to all

   issues of fact and/or law.

                                        CERTIFICATION

           I hereby certify that, to the best of my knowledge and belief, the matter in

   controversy is not the subject of any other action pending in any court or of a pending

   arbitration proceeding.



                                          _/s/ Lewis G. Adler, Esquire________
   Dated: _12/31/09___                          LEWIS G. ADLER, ESQ.
                                                 26 Newton Avenue
                                                 Woodbury, NJ 08096
                                                 (856) 845-1968
                                                 Attorney for Plaintiff




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